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Case 8:20-mj-00193-CBD Document? Filed 01/16/20 Page 1 of,1.. Gee

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND AN 16 2020
AT GREENBELT
CLERK, U.S. DISTRICT COURT
By DISTRICT OF MARYLAND SEPUTS
UNITED STATES OF AMERICA
*
vs. Case No. CBD 20-mj-00193

PATRIK JORDAN MATHEWS

KKK

ORDER OF TEMPORARY DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT

Upon motion of the United States for Temporary Detention, it is ORDERED that a detention

—_—
hearing is set for J AnuAY Fh POD (date) at {0 SOA ime) before
, gk
thy okAb le, Limothyy f ‘ ic Lh VAY , United States Magistrate Judge,
6500 Cherrywood Lane, Greenbelt, Maryland 20770 Courtroom TBD .
Pending this hearing, the defendant shall be held in custody by (the United States Marshal)
( ) (Other Custodial Official) and

produced for the hearing.

January 16, 2020 (LAR id —\

Date Charles B. Day
United States Magistrate Judge

 

U.S. District Court (4/2000) Criminal Magistrate Forms: Order Temp. Detention
